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              EXHIBIT 10
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 akerman                                                                              Thomas G. Pasternak

                                                                                             Akerman LLP
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                                                                                        Chicago, IL 60606

                                                                                          T: 312 634 5700
                                                                                          F: 312 424 1900


                                                May 5, 2023


 VIA E-MAIL

 David Johnson
 Butler Snow LLP
 The Pinnacle at Symphony Place
 150 3rd Avenue South, Suite 1600
 Nashville, TN 37201

 Re:     Weather King v. American Barn

 Dear David:

         I am writing to follow up to our conversation on May 1 and the various letters that have
 been circulated in the past few weeks. Upon considering the issues discussed, and after consulting
 with my clients, before going to the great effort of supplementing ten voluminous sets of discovery
 requests, so that we don't have to do it multiple times, and because the clients are still checking on
 various items, I am writing to tell you what we will agree to do and what we will not agree to do,
 before we supplement. Upon review of your April 19 letter and in the context of our conversations,
 we set forth our planned course of action as stated below. We will supplement the responses as
 soon as we are able to confirm what information and documentation is available and can produce
 it to you.

          With regards to the phone records requests and our objections that fall across requests to
 all of the defendants, if you have specific numbers that you would like records for, as opposed to
 all phone records of all defendants, we are happy to consider seeking those phone records as a way
 of limiting those requests.

          These items are outlined in accordance with your letter of April 19.

                                   INTERROGATORIES TO MAUPIN

          Interrogatory No. 1

      Jesse Maupin, Barry Harrell, and Wade Etherton were in involved in the formation of
 ABCO Rentals



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        Interrogatories Nos. 3-5

          Maupin will supplement his responses to these interrogatories. With regard to Plaintiffs
 assertions that ABCO’s responses are insufficient, the only other information that we can provide
 is that the conversations were verbal and that they concerned the circumstances of the formation
 of ABCO.

        Interrogatory No. 13

        Maupin stands by his objections.

        Interrogatory No. 14

        We are checking on this with all of the defendants after the clarification and will
 supplement their responses if necessary.

        Interrogatory No. 15

        We are checking on this in light of your proposed compromise and will supplement as is
 necessary after confirming whether there is any responsive information to this interrogatory.

                           REQUESTS FOR PRODUCTION TO MAUPIN

        Requests Nos. 13 & 15

        Maupin confirmed that he has no responsive documents. We are not required to give you
 an explanation of the facts as they are.

        Request No. 27

        Maupin stands on his objections.

        Request No. 33

        Maupin stands on his objections.

        Request No. 38

        We have confirmed that no responsive documents exist.

                                  INTERROGATORIES TO ABCO

         Interrogatory Nos. 3-4

        ABCO will supplement its responses to those interrogatories.




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       Interrogatory Nos. 6, 8, 10 & 12

        ABCO has provided as much information as it has based on a reasonable search of its
 records, as required by the discovery rules.

       Interrogatory No. 9

       See response to Interrogatory Nos. 6-8 and 12.

        Interrogatory No, 11

       ABCO stands by its response.

        Interrogatory No. 15

       ABCO stands by its response.

                         REQUESTS FOR PRODUCTION TO ABCO

        Request No. 30

        As we discussed ABCO will supplement its response with a spreadsheet that provides this
 information.

        Request No. 35

         ABCO stands by its objections.

                               INTERROGATORIES TO HARRELL

        Interrogatory Nos. 3-7

        Harrell will supplement his responses to these interrogatories.

        Interrogatory No. 11

        Harrell stands by his objections.

        Interrogatory No. 12

        We will check on this and will supplement if necessary.

        Interrogatory No. 13

        We are checking on this and will supplement if necessary.




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                     REQUESTS FOR PRODUCTION TO HARRELL

       Request No. 26

       Harrell stands by his objections.

       Request No. 30

       We have confirmed that Harrell has no responsive documents to this request.

       Request No. 32

       Harrell stands by his objections.

                              INTERROGATORIES TO HARROD

       Interrogatory Nos. 3-5

       Harrod stands by his responses.

       Interrogatory No. 10

       Harrod stands by his objections.

       Interrogatory No. 11

         We are checking on whether further information can be provided in response to this
 interrogatory.

                      REQUESTS FOR PRODUCTION TO HARROD

       Request Nos. 6-14, 24

       Harrod confirms his responses.

                 INTERROGATORIES TO FEAGIN, GILLESPIE, BROWN,
                     HERSHBERGER, G. LASSEN AND A. LASSEN

        1: Arizona Barn is the correct entity.

        2: Ms. Gillespie stands by her response. One can't compel that which doesn't exist.

        3: Gillespie, Hershberger, and Feagin stand by their responses.

        4: Hershberger stands by his response.




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       5: Defendants stand by their objections.

       6: Defendants stand by their objections.

        7: We are checking on this information in light of your proposed compromise and will
 supplement as is necessary.

    REQUESTS FOR PRODUCTION TO HARROD, FEAGIN, GILLESPIE, BROWN,
                HERSHBERGER, G, LASSEN AND A. LASSEN

        Hershberger Request No. 6

        We are checking.

        Hershberger Request No. 7

        We are checking.

        Hershberger Request No. 14

        Hershberger stands by his objections.

        Feagin Request No. 24

        Feagin stands by his objections.

        Feagin Request No. 27

        Feagin stands by his objections.

        Request No. 28 (Lassen Defendants and Harrod)

        We have confirmed that no responsive documents exist in response to these requests.

        Request No. 29 (Harrod, Gillespie, B. Lassen)

        Their responses are confirmed.

        Request No. 30

        Defendants stand by their objections.

        On the other issues raised in your letter, the only responsive documents that were agreed
 to be produced in my April 14 letter were document responses to Document Request No. 29 to
 Feagin if they existed, and it has been confirmed that none exist.




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          As far as I know all responsive documents have been produced as delineated in Defendants'
 initial discovery responses.

        Finally, we will endeavor to locate and produce the Brown spreadsheet that you requested.

                                              Very truly yours,


                                              Thomas G. Pasternak




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